          Case 1:17-cv-00384-JAP-JHR Document 282-2 Filed 04/29/21 Page 1 of 7




                               FINAL SUMMARY OF DISBURSEMENTS
                            Dennis Murphy, et al., vs. United States of America
                                    Case No. 17-CV-00384-JAP-JHR




GROSS Judgment                                                                                      $15,357,497.00
 Past Medical Expenses                              $    500,000.00
 Dominique Billy Past Medical Care                  $    637,840.00
 Future Medical Needs                               $ 14,219,657.00
                                                               15,357,497 00

LESS Attorney Fees, Tax and Costs                                                                    $4,245,724.73
  Attorney's Fees (25%)                                                          3,839,374.25
  NM Gross Receipts Tax (7.875%)                                                   302,350.72
  Costs Advanced * (See Exhibit 1, 2 & 3)                                          103,999.76
     T.Barudin costs                                $        42,223.05
     W.Carpenter costs                              $        39,696.45
     R.Kaplan costs                                 $        22,080.26
    * Less any costs awarded by the Court           $       103,999.76
      on Plaintiffs' Bill of Costs (Doc 278)
      totaling $13,852.84


NET Judgment                                                                                        $11,111,772.27

LESS Healthcare lien * (Plaintiffs' will                                                        $         ,   .
satify BC/BS lien)



BALANCE to client


ACCEPTED:

_______________________________________                                        Dated: _____________________
Dennis Murphy


_______________________________________                                        Dated: _____________________


Unless otherwise listed above as paid by ATTORNEYS payment of all outstanding medical bills or
liens are the responsibility of the client.




                                            William H. Carpenter Law Office, LTD.
                                              P.O. Box 35070, ABQ NM 87176
(505) 243-1336                             201 Broadway Blvd SE, ABQ NM 87102                                     Page 1
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                                      DISBURSEMENT STATEMENT
                                     FOR PAST MEDICAL EXPENSES
                             Dennis Murphy, et al., vs. United States of America
                                     Case No. 17-CV-00384-JAP-JHR

JUDGMENT - PAST MEDICAL EXPENSES                                                                    $500,000.00
  ( 3% of Gross Judgment $15,357.497.00)

LESS Attorney Fees, Tax and Costs                                                                  -$137,963.74
  Attorney's Fees (25%)                                                             125,000.00
  NM Gross Receipts Tax (7.875%)                                                      9,843.75
  Costs Advanced @ 3% of Total * (See Exhibit 1, 2 & 3)                               3,119.99
      Barudin costs                                   $          42,223.05
      Carpenter costs                                 $          39,696.45
      Kaplan costs                                    $          22,080.26
             Total *                                  $        103,999.76

  * Less any costs awarded by the Court on Plaintiffs' Bill of Costs in
the amount of $13,852.84 (Doc. 278)

NET Recovery                                                                                        $362,036.26

Payment to: Healthcare lien (Plaintiff's will
satify the BC/BS lient



BALANCE


ACCEPTED:

_______________________________________                                      Dated: _____________________
Dennis Murphy


_______________________________________                                      Dated: _____________________


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liens are the responsibility of the client.




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                                DISBURSEMENT STATEMENT
                          FOR DOMINIQUE BILLY PAST MEDICAL CARE
                            Dennis Murphy, et al., vs. United States of A merica
                                    Case No. 17-CV-00384-JAP-JHR




JUDGMENT - Dominique Billy Past Medical Care                                                       $637,840.00
  ( 4% of Gross Judgment $15,357.497.00) $   637,840.00


LESS Attorney Fees, Tax and Costs                                                                 -$176,177.47
  Attorney's Fees (25%)                                                           159,460.00
  NM Gross Receipts Tax (7.875%) (see Exh 4)                                       12,557.48
  Costs Advanced @ 4% of Total * (See Exhibit 1, 2 & 3)                             4,159.99
      Barudin costs                                   $           42,223.05
      Carpenter costs                                 $           39,696.45
      Kaplan costs                                    $           22,080.26
             Total *                                  $         103,999.76


 * Less any costs awarded by the Court on Plaintiffs' Bill of Costs (Doc
278) total $13,852.84

NET to Dominique Billy                                                                             $461,662.53




ACCEPTED:
_______________________________________                                       Dated: _____________________
Dennis Murphy


_______________________________________                                       Dated: _____________________


Unless otherwise listed above as paid by ATTORNEYS, payment of all outstanding medical bills
or liens are the responsibility of the client.




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                                     DISBURSEMENT STATEMENT
                                     FOR FUTURE MEDICAL NEEDS
                            Dennis Murphy, et al., vs. United States of America
                                    Case No. 17-CV-00384-JAP-JHR




JUDGMENT - Future Medical Needs                                                                $    14,219,657.00
  ( 93% of Gross Judgment $15,357.497.00)

LESS Attorney Fees, Tax and Costs                                                                   -$3,931,583.52
  Attorney's Fees (25%)                                                         3,554,914.25
  NM Gross Receipts Tax (7.875%) (see Exh 4)                                      279,949.50
  Costs Advanced @93% of Total * (See Exhibit 1, 2 & 3)                            96,719.78
      Barudin costs                                 $           42,223.05
      Carpenter costs                               $           39,696.45
      Kaplan costs                                  $           22,080.26
          Total *                                   $          103,999.76

 * Less any costs awarded by the Court on Plaintiffs' Bill of Costs (Doc
278) total $13,852.84

NET Judgment - Future Medical Need                                                                 $10,288,073.48

Payment to NM Bank & Trust for Future                                                              -$10,288,073.48
Medical Needs



BALANCE                                                                                                     $0.00


ACCEPTED:

_______________________________________                                     Dated: _____________________
Dennis Murphy


_______________________________________                                     Dated: _____________________


Unless otherwise listed above as paid by ATTORNEYS payment of all outstanding medical bills or
liens are the responsibility of the client.




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(505) 243-1336                             201 Broadway Blvd SE, ABQ NM 87102                                  Page 4
6211- CLIENT COSTS ADVANCED         Client Costs Advanced
           Case 1:17-cv-00384-JAP-JHR
DOTSON, Natalie                         Document 282-2 Filed 04/29/21 Page 5 of 7
                                                         BARUDIN LAW FIRM


 Type        Date       Num                      Name                                      Memo                    Amount

Check      05/20/2016   6294   Gallup Med Flight                       Natalie Dotson 2/28/2016                        40.00
Check      06/06/2016   6303   UNMHSC/University Hospital              Dotson- 81102239                                44.00
Check      06/21/2016   6326   UNMHSC/University Hospital              Dotson - Records 81433528                       10.00
Check      06/21/2016   6327   Gallup Indian Medical Center            Records - Natalie Dotson GIMC 260428            25.00
Check      08/14/2016   6351   MedView, LLC                            Dotson - Invoice 6181                        1,042.00
Check      12/16/2016   6424   UNMHSC/University Hospital              Dotson - 84535210                               26.00
Check      04/18/2017   6495   Reliable                                Dotson - Invoice 18049-17                       47.22
Check      04/27/2017   6521   Kelley Servers                          Dotson - SOP - Miracle Recreational             80.00
Check      04/27/2017   6522   Worldwide Investigation Services, LLC   Dotson - SOP - Playpower, Inc.                  75.00
Check      05/05/2017   6525   Marcia Williams                         Dotson - Gallup SOP                             60.00
Check      05/23/2017   6549   Reliable                                Dotson - 18262-17                               94.44
Check      08/29/2017   6619   UNMHSC/University Hospital              Dotson - 88599992                               26.00
Check      11/26/2017   6659   New Mexico Depo                         Ella Begay Depo - Invoice 20171093             645.89
Check      11/26/2017   6662   Moir Litigation Video                   Dotson - Video of Ella Begay Invoice 816       455.53
Check      11/26/2017   6665   Graphics for Litigators                 Dotson - Invoice 55953                         195.00
Check      12/07/2017   6680   Dr. Gregory B. Hammer                   Natalie Dotson v. USA - Retainer             2,500.00
Check      01/04/2018   6707   UNM/HSC Department of Pediatrics        Dotson - Consultation Dr. Denise Taylor        600.00
Check      01/24/2018   6718   Brian McDonald, Ph.D                    NED v USA                                    2,680.78
Check      02/12/2018   6723   Bouley & Schippers                      Dotson v USA Invoice 11325                     473.70
Check      02/12/2018   6725   Freeman Process Server                  Dotson Invoice FPS-2018-0066                    50.00
Check      02/12/2018   6726   Med View LLC                            Dotson v USA Invoice 6518                    7,573.91
Check      03/05/2018   6738   UNMHSC/University Hospital              Dotson - Request 91065721                      116.00
Check      03/05/2018   6739   Alliance Reporting Solutions            Dotson - Invoice 1812064                       498.75
Check      03/22/2018   6743   Federal Express                         Invoice 6-105-12953                             51.92
Check      03/22/2018   6746   Family Eye Care of New Mexico           Dotson - 60200                                  30.00
Check      04/09/2018   6760   HME Specialists LLC                     Dotson - Invoice 7153693                        12.00
Check      05/04/2018   6764   Med View LLC                            Dotson - Invoice 6569                          825.60
Check      05/04/2018   6765   Brian McDonald, Ph.D                    Dotson                                       1,148.91
Check      05/04/2018   6770   Bean & Associates, Inc.                 Dotson -Invoice 4952K                          233.59
Check      05/04/2018   6771   Bean & Associates, Inc.                 Dotson - Invoice 4950K                         183.26
Check      05/04/2018   6772   Bean & Associates, Inc.                 Dotson - Invoice 4948K                         210.36
Check      06/06/2018   6783   Bean & Associates, Inc.                 Dotson - Invoice 5053K                         477.95
Check      06/18/2018   6800   UNMHSC/University Hospital              Dotson   Request 93214880                       95.50
Check      07/13/2018   6816   New Mexico Depo                         Dotson- Invoice 20180666                        83.85
Check      07/13/2018   6817   New Mexico Depo                         Dotson - Invoice 20180667                      161.25
Check      07/13/2018   6823   The Video People                        Invoice 761                                    502.56
Check      07/13/2018   6824   Federal Express                         Invoice 6-237-00280                             17.26
Check      07/13/2018   6833   Bean & Associates, Inc.                 Dotson - Invoice 5053K                         477.95
Check      08/08/2018   6839   New Mexico Depo                         Dotson - 20180677                              141.90
Check      08/21/2018   6853   Bean & Associates, Inc.                 Dotson - 5087K                                 363.07
Check      12/05/2018   6900   Rayeann Marcelli                        Dotson - Medical Records Request 96409441      111.00
Check      01/02/2019   6920   Brian McDonald, Ph.D                    Dotson - Report                              1,537.22
Check      01/21/2019   6943   Moir Li igation Video                   Dotson Invoice 1548                            104.84
Check      03/08/2019   6981   UNMHSC/University Hospital              Dotson Request 98984562                         88.25
Check      06/19/2019   7064   John De La Rosa, CCR                    VOID: Murphy v USA - Final PTC transcript        0.00
Check      06/26/2019   7071   John De La Rosa, CCR                    Murphy v USA - Final PTC transcript            484.30
Check      09/20/2019   7112   City of Albuquerque                     VOID: W001253435                                 0.00
Check      09/29/2019   7118   Med View LLC                            Dotson - Invoice 976668                     11,258.11
Check      09/29/2019   7121   Moir Litigation Video                   VOID: Dotson - Invoice 1950                      0.00
Check      09/29/2019   7126   Moir Litigation Video                   Dotson - Invoice 1950                          633.30
Check      12/03/2019   7156   John De La Rosa, CCR                    Mur[hy v USA                                   748.54
Check      03/12/2020   7214   Med View LLC                            Dotson - Final Invoice                       4,881.34



                                                                       TOTAL DOTSON COSTS                          42,223.05

                                                                                                                               Page 5 of 7
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Dotson, N                              WILLIAM H CARPENTER LAW OFFICE, Ltd.

                                                       COSTS SHEET
                                                                                                       Original       Paid
      Date             Num                     Name                           Memo                     Amount        Amount


    08/04/2016   28756       ALEXANDER W SCHERMER             EXPERT (INV 7-10-16)                         300.00       300.00
    09/08/2016   28802       ALEXANDER W SCHERMER             EXPERT (INV 8-31-16)                         600.00       600.00
    03/30/2017   28995       ERIN D. BIGLER, PH.D.            EXPERT RETAINER                             3,850.00    3,850.00
    03/30/2017   28996       BYU COMPREHENSIVE CLINIC         EXPERT RETAINER                             1,750.00    1,750.00
    04/05/2017   29000       ALEXANDER W SCHERMER             EXPERT (INV 3-31-17)                        1,200.00    1,200.00
    04/07/2017   576358992   FEDEX                            SHIPPING TO E.BIGLER                          69.20        69.20
    05/05/2017   579230292   FEDEX                            SHIPPING TO E.BIGLER                          62.28        62.28
    12/12/2017   4           ALEXANDER W SCHERMER             EXPERT (12/1/17)                            1,200.00    1,200.00
    01/10/2018   Temp3       SHARON ANN GUERRA                EXPERT (#0529)                               321.56       321.56
    01/24/2018   29255       SHARON ANN GUERRA                EXPERT (#0530)                               602.93       602.93
    02/20/2018   29280       JOCELYN C. AMBERG MSN RN         CONSULTATION                                 375.00       375.00
    02/27/2018   29285       JAMES L. LOWRY, M.D.             Legal Consultation                           600.00       600.00
    03/28/2018   20180204    New Mexico Depo                  DEPO - KELLI COGGINS SMITH                   940.84       940.84
    03/28/2018   536         SHARON ANN GUERRA                EXPERT (#0536)                               442.15       442.15
    03/28/2018   537         SHARON ANN GUERRA                EXPERT (#0538)                               602.93       602.93
    03/29/2018   29314       PAUL BACA COURT REPORTERS        DEPOS (Sandoval, MacNeil MD, Tyler)          939.12       939.12
    04/10/2018   29327       MOIR LITIGATION VIDEO            DEPO (Sandoval, Macneil MD Tyler)            872.79       872.79
    05/01/2018   29346       SHARON ANN GUERRA                EXPERT (#0539)                              1,004.88    1,004.88
    05/02/2018   29324       HSC Pediatric                    CONSULTATION with DR. TAYLOR                 600.00       600.00
    05/30/2018   29365       MEDVIEW                          EXPERT fees Joan Schofield                  2,152.15    2,152.15
    07/10/2018   29398       FEDEX                            Shipping to S. Nelson                         46.21        46.21
    07/17/2018   29405       CITI CARDS                       Shipping to S. Nelson                         49.80        49.80
    07/26/2018   29407       DOLORES GONZALES                 Trial Witness Fee                            192.60       192.60
    07/26/2018   29406       Marcia Williams                  Service of Process (Dolores Gonzales)         50.00        50.00
    07/30/2018   29538       MOOTS PRODUCTION                 Video (ND at therapy)                        844.77       844.77
    08/21/2018   29428       SHARON ANN GUERRA                EXPERT FEE (#0542)                           267.97       267.97
    08/21/2018   29428       SHARON ANN GUERRA                EXPERT FEE (#0545)                           361.76       361.76
    08/28/2018   29431       MARIO DEVES                      PAINTING OF MODEL                             70.00        70.00
    09/06/2018   29433       BEAN & ASSOCIATES, INC.          Depo - Sharon Guerra                         246.44       246.44
    09/20/2018   29446       Bouley & Schippers               Depo - Stephen Waite MD                      284.05       284.05
    09/27/2018   29456       U.S. BANK                        UNMH Medical Records                          10.00        10.00
    10/04/2018   29460       NEUROEVAL, LTD                   CONSULTATION (Don Seelinger Phd)             862.80       862.80
    10/10/2018                                                Deposit                                      -267 97     -267.97
    10/25/2018   294678      SHARON ANN GUERRA                EXPERT FEE (#0544)                           200.98       200.98
    01/08/2019   29407       DOLORES GONZALES                 VOIDED Check                                 -192.60     -192.60
    03/21/2019   29589       ERIN D. BIGLER, PH.D.            EXPERT CONSULTATION                          275.00       275.00
    04/09/2019   29611       SANDIA NEUROPSYCHOLOGY           Medical Records Doston                        40.00        40.00
    04/18/2019   29584       FEDEX                            package to Erin Bigler PhD.                   30.11        30.11
    05/14/2019   29630       DOLORES GONZALES                 Murphy- USA Witness Fee                      202.40       202.40
    05/21/2019   29631       Marcia Williams                  Service of Process                            50.00        50.00
    08/15/2019   29704       NICOLE ESSENMACHER,SLP           WITNESS FEE- ESSENMACHER                      42.90        42.90
    08/15/2019   29705       AMANDA CHAVEZ , PT               WITNESS FEE CHAVEZ                            42.90        42.90
    08/15/2019   29706       ANNIE RAMIREZ, O.T.              WITNESS FEE RAMIREZ                           42.90        42.90
    08/15/2019   29707       DENISE EVETTE TAYLOR, MD         Medical Records Doston                        40.00        40.00
    08/15/2019   29709       SAM E. ORTEGA                    WITNESS FEE ORTEGA                              0.00        0.00
    09/05/2019   29723       ERIN D. BIGLER, PH.D.            EXPERT CONSULTATION                        14,498.00   14,498.00
    09/10/2019   29724       UNMHSC/CARRIE TINGLEY HOSPITAL Medical Records Doston                          81.50        81.50
    09/10/2019   29727       FEDEX                            Package to Hon. Richard Eaton                 99.70        99.70
    09/26/2019   29736       M. BRIAN McDONALD                EXPERT CONSULTATION                         3,330.64    3,330.64
    10/01/2019   29748       ALEXANDER W SCHERMER             EXPERT CONSULTATION                         2,503.17    2,503.17
    12/03/2019   29779       JOHN DE LA ROSA CCR              Transcript Invoice - 20190050                 47.09        47.09
    02/01/2020   deposit     ERIN D. BIGLER, PH.D.            Refund from E.Bigler -Unused Retainer      -3,142 50    -3,142.50


                             TOTAL CASE COSTS                                                         $ 39,696.45    39,696.45
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                                                                       KAPLAN LUKOWSKI
                                                                         COSTS SHEET


Dotson, Jake (Minor child Natalie Dotson)
                                                                                                                                                           Subtotal by
 Type     Date                   Source Name                                      Memo                               Account          Paid Amount           account


Check    07/05/2016   Stephen Lieberman, MD                 Retainer                                             5130 Experts         $     1,000.00
                                                            Review of medical records (5 hrs @ $450 = $2250
Bill     07/25/2016   Stephen Lieberman, MD                 less $1000 retainer                                  5130 Experts         $     1,250.00
Check    10/26/2017   Stephen Nelson, MD                    Causation expert                                     5130 Experts         $     2,500.00
                                                            Record review (2 hrs); conference/correspondence
Bill     01/09/2018   Child Neurology Consulting, LLC       (2 hrs); literature research (1 hr); expert rep...   5130 Experts         $     5,056.06
Bill     01/26/2018   Stephen Lieberman, MD                 6 hours @ $450/hour                                  5130 Experts         $     2,700.00
Bill     06/29/2018   Child Neurology Consulting, LLC       Advance payment for IME 7/27/18                      5130 Experts         $     1,500.00
Bill     08/24/2018   Child Neurology Consulting, LLC       Review of new records (5 hrs);                       5130 Experts         $     3,500.00
                                                            conference/correspondence (1 hr); Literature
                                                            research (1 hr) 97 ...
Bill     08/24/2018   Child Neurology Consulting, LLC       4/17/18--8/19/18: Review of new records (6 hrs);     5130 Experts         $     4,500.00
                                                            Conference/correspondence (3 hrs) (9 hours @ ...
                                                                                                                                                       $      22,006.06
Check    06/04/2018   Clerk, Northern District of Georgia   Certificate of good standing                         5190 Other client dis $      19.00    $          19 00
Bill     07/15/2016   Amplify Savings                       Fedex SON to Stephen Lieberman MD                    6440 Delivery and co $       23.70    $          23.70
Bill    7/31/2019     Fidelity Bank Visa                    Elsevier: Science Direct                             6540: Library        $       31.50    $          31 50


                                                            TOTALCOSTS                                                              $    22,080.26   $      22,080.26
